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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


 MARLON E. BRACKEN,                          )
     Plaintiff                               )
                                             )
 v.                                          )                  Case No. 1:22-cv-03540
                                             )                  Hon. John F. Kness
 ROUNDY’S ILLINOIS, LLC, d/b/a               )
 MARIANO’S,                                  )
     Defendant                               )



      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(A)(i)


       Pursuant to the Federal Rules of Civil Procedures 41(a)(A)(i), Plaintiff MARLON E.
BRACKEN and or his counsel, hereby gives notice that the above-captioned case is voluntarily
dismissed with prejudice against Defendant ROUNDY’S ILLINOIS, LLC, d/b/a MARIANO’S.



                               CERTIFICATE OF SERVICE


       The undersigned certifies that he filed this Notice of Dismissal via E-Mail on opposing
counsel Christopher S. Griesmeyer of Greiman, Rome & Griesmeyer, LLC at
cgriesmeyer@grglegal.com and the Court’s electronic filing system on Tuesday, September 13,
2022.


                             Respectfully Submitted By, /s/ John M. O’Toole
                                                        Attorney for the Plaintiff


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